Case 2:11-cr-20677-AJT-LJM ECF No. 146, PageID.857 Filed 10/16/20 Page 1 of 13




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           CASE NO. 11-20677

                   Plaintiff,                       HON. ARTHUR TARNOW
v.

D-1 LATOYA PERRY,

               Defendant.
________________________________/

      GOVERNMENT’S RESPONSE TO COURT ORDER REQUIRING
     GOVERNMENT TO RESPOND TO DEFENDANT’S SUPPLEMENTAL
                        BRIEF [R. 145]

       The United States of America, by and through its undersigned counsel,

submits this response to the Court’s Order Requiring the Government to Respond

to Defendant’s Supplemental Brief [R. 145]. Attached, under seal, to this response

are Bureau of Prisons records related to Perry’s educational record, disciplinary

record and work history.

       At the last hearing on this case, Perry was dishonest with the Court when she

claimed that she had asthma and used an inhaler. Perry’s Bureau of Prisons

medical records show that she has never been diagnosed or treated for asthma

during her entire time in BOP custody. Nor does she offer any evidence that she

was diagnosed or treated for asthma before she entered BOP custody. In fact, Perry

does not have any medical conditions that increase her risk for Covid-19. She is
Case 2:11-cr-20677-AJT-LJM ECF No. 146, PageID.858 Filed 10/16/20 Page 2 of 13




essentially a heathy, middle-aged person, who has presented the Court with no

extraordinary and compelling medical reasons for her release.

      Therefore, Perry’s supplemental brief shifts the focus away from her

purported medical issues and argues instead that Perry should be released because

the original sentence imposed by Judge Cook is unfair due to a change in the law

regarding her status as a “career offender” under the Sentencing Guidelines. A

change to her career offender status is not, as a matter of law, an “extraordinary

and compelling” reason for compassionate release. But even if it were, Judge

Cook’s sentence was not unfair, despite the change in the law, because Perry

expressly decided to forego the exact argument she is making today in exchange

for a more favorable plea agreement. In light of Perry’s own decision to forego this

argument, her sentence is hardly the type of injustice that would constitute an

“extraordinary and compelling” reason for her release.

      Lastly, even if the Court found that “extraordinary and compelling” reasons

for release existed, Perry’s motion should still be denied. Her email to the warden

does not constitute a proper administrative request for compassionate release and

she therefore has not exhausted her administrative remedies. Nor is her educational

record and work history inside the BOP sufficient to show that she is fully

rehabilitated. Perry’s disciplinary record in prison, and most importantly, her false

statements to the Court in the last hearing demonstrates that she is not a completely

                                          2
Case 2:11-cr-20677-AJT-LJM ECF No. 146, PageID.859 Filed 10/16/20 Page 3 of 13




changed person. She continues to disregard basic rules of behavior if doing so gets

her something she wants, which is a characteristic that is further exemplified by

her chronic criminal record and her dishonest representations at earlier points in

the litigation of this case.

                                    ARGUMENT

I.     Sentencing Guideline Changes Are Not “Extraordinary and Compelling”
       Reasons for Compassionate Release

       A district court has “no inherent authority . . . to modify an otherwise valid

sentence.” United States v. Washington, 584 F.3d 693, 700 (6th Cir. 2009). Rather,

a district court’s authority to modify a defendant’s sentence is “narrowly

circumscribed.” United States v. Houston, 529 F.3d 743, 753 n.2 (6th Cir. 2008).

Absent a specific statutory exception, a district court “may not modify a term of

imprisonment once it has been imposed.” 18 U.S.C. § 3582(c). Those statutory

exceptions are narrow. United States v. Ross, 245 F.3d 577, 586 (6th Cir. 2001).

Compassionate release under 18 U.S.C. § 3582(c)(1)(A) is equally narrow.

       Compassionate release must be “consistent with applicable policy statements

issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A). Congress

tasked the Sentencing Commission with “describ[ing] what should be considered

extraordinary and compelling reasons for [a] sentence reduction” under

§ 3582(c)(1)(A), as well developing “the criteria to be applied and a list of specific

examples” for when release is permitted. 28 U.S.C. § 994(t).
                                           3
Case 2:11-cr-20677-AJT-LJM ECF No. 146, PageID.860 Filed 10/16/20 Page 4 of 13




      Because the Sentencing Commission has fulfilled Congress’s directive in

USSG § 1B1.13, that policy statement is mandatory. Section 3582(c)(1)(A)’s

reliance on the Sentencing Commission’s policy statements mirrors the language

governing sentence reductions under 18 U.S.C. § 3582(c)(2) for retroactive

guideline amendments. Compare § 3582(c)(1)(A) with § 3582(c)(2). When

Congress uses the same language in the same statute, it must be interpreted in the

same way. Marshall, 954 F.3d at 830. In both contexts, then, the Sentencing

Commission’s restraints “on a district court’s sentence-reduction authority [are]

absolute.” United States v. Jackson, 751 F.3d 707, 711 (6th Cir. 2014); accord

Dillon v. United States, 560 U.S. 817, 830 (2010).

      The First Step Act did not change that. It amended only who could move for

compassionate release under § 3582(c)(1)(A). It did not amend the substantive

requirements for release. United States v. Saldana, No. 19-7057, 2020 WL

1486892, at *2–*3 (10th Cir. Mar. 26, 2020); United States v. Mollica, No. 2:14-

CR-329, 2020 WL 1914956, at *4 (N.D. Ala. Apr. 20, 2020). Section 1B1.13

remains binding.

      Section 1B1.13 cabins compassionate release to a narrow group of non-

dangerous defendants who are most in need. That policy statement limits

“extraordinary and compelling reasons” to four categories: (1) the inmate’s

medical condition; (2) the inmate’s age; (3) the inmate’s family circumstances; and

                                         4
Case 2:11-cr-20677-AJT-LJM ECF No. 146, PageID.861 Filed 10/16/20 Page 5 of 13




(4) other reasons “[a]s determined by the Director of the Bureau of Prisons,” which

the Bureau of Prisons has set forth in Program Statement 5050.50. USSG § 1B1.13

cmt. n.1. Changes to the career offender provisions in the Sentencing Guidelines

are not included in the BOP’s Program Statement, and therefore do not qualify as

“other reasons” for a prisoner’s compassionate release. And for good reason. If

changes to the sentencing guideline calculations qualified as “extraordinary and

compelling” for release, then there would never be any finality to a conviction.

Each change to the Sentencing Guidelines – either through case law or through the

Sentencing Commission – would provide a defendant with a valid ground to revisit

his or her sentence. Such a result would be inconsistent with the “narrowly

circumscribed” nature of the compassionate release statute. Houston, 529 F.3d at

753 n.2.

II.   Perry’s Sentence is Not Unjust

      Even if changes to the Sentencing Guidelines were, generally speaking,

considered “extraordinary and compelling” reasons for release, they would not

justify Perry’s early release in this case. This is because Perry expressly decided to

forego making these arguments in exchange for a more lenient plea agreement.

      Perry pleaded guilty pursuant to a Rule 11 plea agreement in which she

agreed that she was a career offender under the Sentencing Guidelines. (R. 27: Plea

Agreement, PgID 50). Her decision not to contest the career offender guideline

                                          5
Case 2:11-cr-20677-AJT-LJM ECF No. 146, PageID.862 Filed 10/16/20 Page 6 of 13




must be understood in light of the fact that she was able to negotiate a plea

agreement that left her in a better position than had she gone to trial. Perry had

distributed over 51 grams of crack cocaine, see Presentence Report at ¶ 13-14, and

was subject to a five-year mandatory minimum sentence. Given that Perry had

prior drug trafficking convictions, the mandatory minimum could have been

enhanced to 10 years had the government elected to do so. 21 U.S.C. §

841(b)(1)(B). However, Perry was able to negotiate a plea agreement that

contained a minimum sentence of seven years, which was less than the 10 years

she would have been facing otherwise. Therefore, Perry made the strategic

decision to forego disputing the application of the career offender guidelines and

instead obtain a plea agreement that allowed her to pursue a sentence below the 10-

year mandatory minimum.

      After Perry pleaded guilty, she filed a motion to withdraw her plea on the

ground that her conviction under Indiana’s escape statute did not constitute a crime

of violence – the exact same argument Perry is currently making. (R.43: Motion to

Withdraw Guilty Plea, PgID 101). However, Perry decided to withdraw this

motion during a hearing before Judge Cook. (R.72: Motion Hearing Trans., PgID

221). At the hearing, Perry explained to Judge Cook in her own words that she did

not want to withdraw her plea and that she preferred the plea agreement because it

permitted her to ask for a sentence as low as seven years, as opposed to facing a

                                          6
Case 2:11-cr-20677-AJT-LJM ECF No. 146, PageID.863 Filed 10/16/20 Page 7 of 13




possible 10-year mandatory minimum without the plea agreement. (Id. at PgID

223). According to Perry, “[t]he seven years sound better to me to try to fight for.”

(Id.). Defense counsel stated that Perry had decided to withdraw her motion after

defense counsel had “many, many jail visits and conversations” with Perry. (Id.,

PgID 225).

      This Court is familiar with this aspect of Perry’s case. After her case was

reassigned to this Court, Perry filed a motion under 28 U.S.C. § 2255, arguing that

her attorneys were constitutionally ineffective for allowing her to plead guilty as a

career offender. This Court reviewed the history of her plea proceedings and held

that “[e]ven assuming that Ms. Perry’s escape conviction could not be used as a

career offender predicate, and that her first lawyer rendered deficient performance,

she has not shown that she suffered prejudice as a result.” (R. 105: Order Denying

§ 2255 Motion, PgID 643-44) (Tarnow, J.). This is because Perry “had an

opportunity to challenge” her status as a career offender, but “declined to do so.”

(Id. at PgID 644). The Court explained that Perry’s decision “makes sense”

because she was “able to obtain a plea agreement that provided her the possibility

of being sentenced to as few as seven years’ imprisonment.” (Id. at PgID 646). As

this Court further explained in a subsequent order addressing this same issue: “She

took a risk and traded her rights to contest the charges against her for the ability to

ask the sentencing court for a downward departure to a seven-year sentence.” (R.

                                           7
Case 2:11-cr-20677-AJT-LJM ECF No. 146, PageID.864 Filed 10/16/20 Page 8 of 13




124: Order Denying Motion for Reconsideration, PgID 719) (Tarnow, J.). That risk

did not payoff for Perry, because Judge Cook determined that her extraordinarily

chronic criminal record demanded a sentence significantly higher than seven years.

But just because Perry’s decision did not ultimately produce a favorable result

(from her perspective) does not mean that her sentence was unfair or unjust. This

Court was correct in finding that Perry suffered no prejudice from her plea as a

career offender. For the same reasons, that same plea is not now so unjust as to

constitute an “extraordinary and compelling” reason for her release.

III.   Perry Has Not Exhausted Her Administrative Remedies

       If a defendant moves for compassionate release, the district court may not

act on the motion unless the defendant files it “after” either completing the

administrative process within the Bureau of Prisons or waiting 30 days from when

the warden at his facility received his request. 18 U.S.C. § 3582(c)(1)(A); United

States v. Alam, 960 F.3d 831, 832 (6th Cir. 2020). This statutory exhaustion

requirement is mandatory. Alam, 960 F.3d at 833-36. As Judge Roberts recently

explained, the law requires “at a minimum” that a compassionate release request to

the warden “must contain” certain important information, including: “(1) the

extraordinary or compelling circumstances that the inmate believes warrant

consideration; and (2) proposed release plans, including where the inmate will

reside, how the inmate will support himself/herself, and, if the basis for the request

                                          8
Case 2:11-cr-20677-AJT-LJM ECF No. 146, PageID.865 Filed 10/16/20 Page 9 of 13




involves the inmate’s health, information on where the inmate will receive medical

treatment, and how the inmate will pay for such treatment.” United States v. Hicks,

No. 96-20335, 2020 WL 4791204, *2 (E.D. Mich. Aug. 17, 2020) (citing 28

C.F.R. § 571.61).

      Perry’s email does not meet these basic requirements. The email does not

provide information on “how the inmate will support” herself, which is a critically

important consideration for someone, like Perry, who has been involved with drug

trafficking her entire adult life and has had “no gainful, steady, documented

employment in the last ten years,” prior to her incarceration. (Presentence Report, ¶

86, p. 24). It is also worth noting that Perry’s email sought release based only on

her legally incorrect claim that her sentence should be lower because of the change

to crack cocaine sentencing in the Fair Sentencing Act, and concerns related to her

mother’s and sister’s health. (R. 124: Order Denying Motion for Reconsideration,

PgID 719) (Tarnow, J.) (denying Perry’s motion to be sentenced under the Fair

Sentencing Act). The email did not seek compassionate release based on her health

or Covid-19. Perry’s email is not a proper administrative request for

compassionate release and her motion should be denied.

IV.   Perry Has Not Rehabilitated Herself

      Perry’s BOP records show that she has taken several educational, vocational,

drug treatment, and exercise courses while in BOP custody. She has also worked at

                                          9
Case 2:11-cr-20677-AJT-LJM ECF No. 146, PageID.866 Filed 10/16/20 Page 10 of 13




various jobs within the prison. While this conduct is positive and encouraging, it is

tempered by the fact that Perry has had several disciplinary violations over the

years, including violations for: fighting with another inmate (2014), interfering

with taking count (2014), misusing medication (2016), being in an unauthorized

area (2016), being absent from an assignment (2017), engaging in sexual acts

(2017), and being unsanitary or untidy (2019). But even more troubling is Perry’s

deceptive answers to the Court’s questions about her medical problems at the last

court hearing, especially her false claim that she had asthma and was using an

inhaler. Perry’s BOP medical records show no indication that she has ever been

diagnosed or treated for asthma. Perry’s attempt to deceive the Court is yet another

dishonest representation that Perry has made at different stages of this case:

      •      At sentencing, for example, Perry claimed that she had post-traumatic
             stress disorder and bi-polar disorder, but Judge Cook expressly
             rejected these claims after listening to her psychologist’s testimony.
             (R. 74: Sent. Hearing Trans., PgID 376-77 (“I have listened to Doctor
             Wendt’s [Perry’s psychologist] recitation and I have attempted to
             evaluate his conclusions based on his examination. Unfortunately, I
             find it difficult to accept his conclusions as it relates to Ms. Perry.
             And thus I cannot and will not accept Doctor Wendt’s conclusions as
             announced in this court today.”)).

      •      On appeal, Perry argued her plea was involuntary because she had low
             intelligence. (United States v. Perry, Sixth Circuit Case No.14-1327,
             R. 39: Def. Brief). But such a claim was contradicted by her multiple
             interactions with Judge Cook, the findings of her own psychologist,
             and the findings of a BOP psychologist. In fact, the BOP psychologist
             – who examined Perry near in time to her sentencing – concluded that
             “there was no indication that Ms. Perry was suffering from any form

                                         10
Case 2:11-cr-20677-AJT-LJM ECF No. 146, PageID.867 Filed 10/16/20 Page 11 of 13




             of involuntary interference with mental functioning or any level of
             mental retardation.” (R. 77: BOP Forensic Report, at 12).

      Perry’s willingness to the lie to the Court at the prior hearing means that she

still has difficulty conforming her behavior to basic norms. The fact that she has

taken educational classes and worked jobs inside prison has not solved this

problem – as further demonstrated by her disciplinary record. If Perry is willing to

deceive the Court to get something she wants, the Court cannot have confidence

that, if released, Perry will not break the law to get something else she desires. And

when Perry’s many years of criminal behavior are added to the calculus, it

becomes even more tenuous to believe that her educational classes and work

assignments in prison (which have not made her free of disciplinary problems or

eliminated her penchant for dishonesty) have rehabilitated her to such an extent

that releasing her would promote respect for the law, provide just punishment,

deter criminal conduct, and protect the public.




                                         11
Case 2:11-cr-20677-AJT-LJM ECF No. 146, PageID.868 Filed 10/16/20 Page 12 of 13




                                CONCLUSION

      Perry’s motion for compassionate release should be denied.



                                            Respectfully submitted,

                                            MATTHEW SCHNEIDER
                                            United States Attorney

                                            s/ Michael C. Martin
                                            Assistant United States Attorney
                                            211 West Fort Street, Suite 2001
                                            Detroit, MI 48226
                                            Phone: (313) 226-9100
                                            Michael.C.Martin@usdoj.gov


Date: October 16, 2020




                                       12
Case 2:11-cr-20677-AJT-LJM ECF No. 146, PageID.869 Filed 10/16/20 Page 13 of 13




                         CERTIFICATE OF SERVICE

      I hereby certify that on October 16, 2020, I filed the foregoing document on
the ECF system, which will send notice to Nicole Smith, defendant’s attorney of
record.



                                      s/Michael C. Martin
                                      Michael C. Martin
                                      Assistant United States Attorney
                                      211 W. Fort Street, Suite 2001
                                      Detroit, MI 48226
                                      Phone: (313) 226-9100
                                      E-Mail: Michael.C.Martin@usdoj.gov




                                        13
